                                                                                                                  EXHIBIT E

                                                           tW Community
                                                           Wl          Association Management




                                 P.O. Box 79032 • Charlotte, NC 28271-0030 • (919) 741-5285 • Fax (919) 948-3631
                                                             www.PresquelsleVillas.org
 August 2, 2021

 Hayden Scott Rose                      00000496-C-PIL308
 308 Presque Isle Lane
 Chapel Hill, NC 27514


 Re: Account #: PIL308 - Address: 308 Presque Isle Lane

 The COVID 19 pandemic has affected almost all of us, in one way or another. We want to ensure that you
                                                                                                          are aware of your HOA
 payment options, to avoid any additional charges. If your job, your wages, or your family income situation
                                                                                                            has been impacted by the
 COVID19 pandemic, please call us to discuss your account right away. We're here to help.

Dear: Hayden Scott Rose:
                                                                                                                                                     ;
Although we have contacted you about the outstanding balance on your account, we still have not heard from
                                                                                                           you. You have an outstanding
balance of $2642.16, which contains additional late charges or fees.

If you have already sent payment in full, we ask that you call and let us know. Otherwise, please call us to discuss
                                                                                                                     what you plan to do to settle
your account.

If you would like to discuss payment arrangements or an installment plan, please contact our office either
                                                                                                           by phone or by mail.
Thank you for your prompt attention to this matter.

Sincerely,
Community Association Management
For The Board of Directors for Presque Isle Villas Condominium Homeowners Association, Inc.

                   PLEASE MAKE ALL CHECKS PAYABLE TO: Presque Isle Villas Condominium Homeowners Association, Inc.
                                               Include Your Account Number: PIL308
                                       Payment Mailing Address: Payment Processing Center
                                                           P.O. Box 848
                                                       Commerce, GA 30529

 We may report information about your account to credit bureaus. Late payments, missed payments, or other
                                                                                                          defaults on your account may be
                                                      reflected in your credit report.

 THIS COMMUNICATION IS FROM A DEBT COLLECTOR, AND IS AN ATTEMPT TO COLLECT A DEBT. ANY INFORMATIO
                                                                                                  N OBTAINED WILL BE
                                    USED FOR THAT PURPOSE. (FDCPA - 15 U.S.C. 1692)




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